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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



 UNITED STATES OF AMERICA

 v.                                                            CASE NO: 8:98-CR-154-T-24TGW

 RUBEN CUEVAS
                                           /


                                               ORDER

        THIS CAUSE comes before this Court on Defendant’s Motion for Reconsideration (Dkt.

 743) of the Court's order denying his motion for a sentence reduction under 18 U.S.C. § 3582(c)(2)

 based on USSG Amendment 782, a retroactive guideline amendment (see USSG § 1B1.10(d)

 (2014)). The Court previously found that Defendant was ineligible for a sentence reduction under

 Amendment 782. Dkt. 740. At sentencing, Defendant was held accountable for 61,413 kilograms

 of cocaine. His base offense level was 38. After Amendment 782 under section 2D1.1(c),

 possession of 450 kilograms or more of cocaine is a level 38. Because Defendant was held

 accountable for 61,413 kilograms of cocaine, the amendment does not have the effect of lowering

 Defendant’s base offense level.

        There are three major grounds justifying reconsideration: (1) an intervening change in

 controlling law; (2) the availability of new evidence; and (3) the need to correct clear error or to

 prevent manifest injustice. Sussman v. Salem, Saxon & Nielsen, P.A., 153 F.R.D. 689, 694 (M.D.

 Fla. 1994) (citations omitted). Reconsideration, or rehearing, is “an extraordinary remedy to be

 employed sparingly in the interests of finality and conservation of scarce judicial resources.” Int’l
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 Union of Painters v. Argyros, No. 05–1661, 2007 WL 1577840, at *1 (M.D. Fla. May 31, 2007)

 (citations and quotations omitted).

        Defendant has not shown that any of the three major grounds justifying reconsideration apply

 in this case. As such, relief is not warranted, and Defendant’s motion must be denied.

        ACCORDINGLY, it is ORDERED AND ADJUDGED that Defendant’s motion for

 reconsideration (Dkt. 743) is DENIED.

        DONE AND ORDERED at Tampa, Florida, on the 30th day of September, 2015




 COPIES FURNISHED TO:
 Counsel of Record
 U.S. Probation
 Pro-se Defendant




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